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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-1888V
                                      Filed: April 12, 2019
                                         UNPUBLISHED


    CHARLES PRESLEY,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Ruling on Entitlement; Concession;
                                                             Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                  Guillain-Barre Syndrome (GBS)
    HUMAN SERVICES,

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      petitioner.
Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
        On December 6, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (“GBS”)
caused-in-fact by the influenza vaccination he received on December 15, 2016. Petition
at 1, ¶ 1, 5. Petitioner further alleges that he received the vaccination in the United
States, suffered the residual effects of his injury for more than six months, and that
neither he nor any other party has filed a civil action or received compensation for his
injury, alleged as vaccine caused. Id. at ¶¶ 1, 5, 6. The case was assigned to the
Special Processing Unit of the Office of Special Masters.


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On April 8, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, he indicates “it is respondent’s position that petitioner has satisfied the
criteria set forth in the revised Vaccine Injury Table (“Table”) and the Qualifications and
Aids to Interpretation (“QAI”).” Id. at 3. Respondent further agrees that “based on the
current record, petitioner has satisfied all legal prerequisites for compensation under the
Act arising from his GBS.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
